Case 4:21-cv-00033-ALM        Document 95       Filed 01/24/25       Page 1 of 11 PageID #: 5406




                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 TIMOTHY JACKSON,                                §
                                                 §
        Plaintiff,                               §
                                                 §
 v.                                              §          Civil Action No. 4:21-cv-00033
                                                 §
 LAURA WRIGHT, et al.,                           §                         JURY
                                                 §
        Defendants.                              §


                      REPLY IN SUPPORT OF BOARD DEFENDANT’S
                         MOTION FOR SUMMARY JUDGMENT


        Jackson has not demonstrated that the Board Defendants’ actions were motivated by his

 criticisms of Ewell, nor has he refuted the Board Defendants’ evidence that Volume 12 caused

 disruption that warranted the ad hoc panel’s review of Volume 12’s publication process, and the

 results which warranted the implementation of the ad hoc panel’s subsequent recommendations.

 For the reasons set forth in the Board Defendants’ MSJ and herein, Jackson’s First Amendment

 retaliation claim against the Board Defendants must be dismissed.

        The Board Defendants are not attempting to circumvent the Fifth Circuit’s opinion stating

 that the Board Defendants have the authority to countermand any retaliation wrought by UNT

 officials. Rather, the Board Defendants point out that the evidence that has been developed since

 the opinion – primarily that Dr. Brand no longer has any say in the future of the JSS, and that

 MHTE has undertaken a search for an editor of the JSS, to demonstrate that an order to

 countermand retaliation would be fruitless.




                                                1
Case 4:21-cv-00033-ALM         Document 95        Filed 01/24/25      Page 2 of 11 PageID #: 5407




                                ARGUMENT & AUTHORITIES 1

     I.   Jackson has not demonstrated that his speech motivated UNT’s actions.
          Initially, the Board Defendants note that Jackson’s reliance on Defendant Bakulina’s

 testimony, which he summarized as “the JSS had to be shuttered because nothing but obeisance to

 ‘extremely sensitive’ DEI issues was permitted,” as proof of retaliatory motive, is unwarranted.

 Jackson leaves out that before making the quoted statement, Bakulina stated that “[t]he stopping

 of the publication of the [JSS] was related to many problems. They’re very complicated. I cannot

 relate of the stopping of that publication to a single problem.” REPLY APPX.002-003, 72:7-73:21.

 She went on to explain that in her opinion, which was not shared by others, the problem was that

 many of the authors in Volume 12 positioned themselves as antagonists of Ewell and thus

 antagonists of change; and that most of the articles related to Ewell polemically as a person.

 REPLY APPX.002-003, 72:7-75:9. She did not say that the JSS was shuttered because it did not

 uphold DEI initiatives, she stated that in her opinion not shared by others, the resistance to change

 and personal attacks in Volume 12 were problematic. Id.

          In his “factual background,” Jackson presents a number of arguments about Provost

 Cowley, the ad hoc panel, and Levi Walls’s allegedly duplicitous actions. Specifically, he argues

 that Provost Cowley did not investigate Theoria, that she did not heed his “grievance;” and that

 the panel ignored evidence showing Walls lied, and ignored evidence showing there was no power

 disparity in the JSS. According to Jackson, all of this is evidence of UNT’s motive to retaliate

 against him for criticizing Ewell. As set forth below, these arguments are based on Jackson’s

 personal conclusions-not facts-and do not demonstrate Cowley’s or the ad hoc panel’s “motive.”



 1
   Like in his Motion for Summary Judgment on the defamation claim, Jackson’s “factual
 background” in his Response contains a significant amount of argument. The inaccurate assertions
 are not limited to the ones addressed herein.
                                                  2
Case 4:21-cv-00033-ALM         Document 95        Filed 01/24/25     Page 3 of 11 PageID #: 5408




        Jackson argues that he can prove UNT was motivated to retaliate him based on his speech

 by demonstrating that UNT’s actions would chill a person of ordinary firmness from continuing to

 engage in that activity, citing Bailey v. Iles, 87 F.4th 275, 289 (5th Cir. 2024) (finding that the

 defendant admitted the plaintiff’s arrest was based in part on his speech, and separately finding

 that the plaintiff’s speech was chilled when he deleted the Facebook post at issue in response to

 the arrest.). He is effectively asking this Court to deduce UNT’s motivations based on his personal

 conclusions about, and reactions to, UNT’s actions. In so doing, he collapses the third and fourth

 elements in a manner not supported in the cases he cites, or by logic.

    A. Provost Cowley’s actions were not motivated by Jackson’s criticisms of Ewell.
        First, Jackson in effect argues that the JSS and Theoria had the same or similar editorial

 standards: they both published articles that were not peer reviewed; both allowed the editors to

 self-publish; and neither apply COPE guidelines; therefore, the fact that Theoria was not also

 reviewed by the ad hoc panel proves UNT’s motive was to silence Jackson for criticizing Ewell.

        But Provost Cowley instituted the ad hoc panel’s review of the JSS specifically because of

 SMT’s Response to Volume 12. Doc. 84-2, Board Defs’. MSJ APPX.049, 65:6-11. SMT did not

 publish a “Response” about any volume published by Theoria, therefore no volume of Theoria was

 reviewed. REPLY APPX.012, 96:12-16. Provost Cowley specifically testified that had a

 professional society raised similar issues about Theoria, she would have taken similar action. Id.

 Provost Cowley had no knowledge of Theoria’s editorial practices before this lawsuit, and indeed

 only knew that the journal existed, and nothing more about it. REPLY APPX.012, 95:2-96:3.

 Jackson believes that the SMT’s Response specifically about Volume 12 should have prompted

 UNT to review all journals published by UNT Press. But his beliefs are not indicative of retaliatory

 motive.



                                                  3
Case 4:21-cv-00033-ALM         Document 95        Filed 01/24/25      Page 4 of 11 PageID #: 5409




        Jackson also argues that because Provost Cowley “ignored his grievance” in which he

 alleged that the Student and Faculty Petitions, and the investigation of the JSS announced by Dean

 Richmond, 2 violated his academic freedom, she was clearly motivated to suppress his speech, not

 uphold UNT’s academic standards. See Doc. 89-20. Jackson insinuates that the investigation of

 Volume 12 altered the terms conditions and privileges of his employment, and therefore Cowley’s

 statement that he had not identified an adverse action was a “lie.” But Texas law is clear that an

 investigation, without more, is not an adverse employment action. Breaux v. City of Garland, 205

 F.3d 150, 158 (5th Cir. 2000). There is no dispute that on July 31, when Jackson made his

 grievance, the ad hoc panel had not even been convened, let alone completed its review of Volume

 12. See Doc. 89-20, Doc. 1-5 (the ad hoc panel’s report was issued on November 25, 2020). Nor

 had Dr. Brand weighed in about his recommendation for the future of the JSS. Doc. 1-22 (Brand

 emailed Jackson about his recommendation on December 11, 2020). 3 There was no adverse

 employment action to grieve, therefore Cowley’s failure to find anything to grieve was not a “lie.”

     B. The ad hoc panel’s actions were not motivated by Jackson’s criticisms of Ewell.
        Next, Jackson argues that UNT’s motive is evidenced by the pretextual nature of the ad hoc

 panel. Specifically, he argues that the panel ignored the documents he submitted to the panel and

 “evidence” showing that Walls is a liar and that there was no power disparity in the JSS.

        To start, Ishiyama testified that the panel reviewed and considered all of the evidence

 Jackson submitted. REPLY APPX.035, 60:5-62:2. Further, Jackson spends a significant amount of

 time railing against Levi Walls, his former student, invariably calling him a defamer, quitter, liar,

 and duplicitous coward. But he does not present any evidence showing that Walls lied. It is


 2
   The evidence shows that the ad hoc panel’s review of the JSS was not a result of Dean Richmond’s
 announcement. Doc. 84-2, Board Defs’. MSJ APPX. 049, 65:6-11; REPLY APPX.033, 29:22-30:8.
 3
   The Board Defendants do not concede that the ad hoc panel’s, or Dr. Brand’s actions were based
 on Jackson’s criticisms of Ewell.
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Case 4:21-cv-00033-ALM         Document 95        Filed 01/24/25     Page 5 of 11 PageID #: 5410




 therefore not clear to what end these insults serve – other than to show why Walls felt he could not

 disagree with Jackson, why he feared Jackson would retaliate against him, and why the ad hoc

 panel believed Walls when he described the power balance within the JSS. Doc. 84-2, Board Defs’.

 MSJ APPX.104-105, 40:22-25, 41:1-2; Board Defs.’ MSJ APPX.108-109, 80:2-25, 81:1-4.

        Jackson’s arguments that Walls is a liar and the ad hoc panel’s finding of power disparity

 in the JSS was a farce, revolve around the infamous “car incident.” In Jackson’s telling, he and

 Walls sat in Jackson’s car, and in the course of their discussion of Volume 12, Walls stated he

 wanted to “censor” a pro-Ewell article (Suzannah Clark’s), which Jackson righteously forbade him

 from doing. Notably, Jackson relies on Walls’s testimony to tell this story, leaving out important

 details and misconstruing others.

        First, Walls describes that he received a contribution from Barry Wiener, and expressed to

 Weiner some concerns that he had about the tone of his article. Walls depo. Doc. 83-2, Defamation

 Defs’. MSJ APPX.098, 42:6-43:7. Walls stated he believed the submission was racist, but he did

 not express that explicitly to Wiener. Id. Wiener was displeased with Walls’s comments and

 expressed as much to Jackson. REPLY APPX.047-048, 72:11-73:14. The day after Walls’s

 exchange with Wiener, he and Jackson sat in Jackson’s car and discussed contributions that they

 did not agree with generally, including but not limited to Suzannah Clark’s. REPLY APPX.049,

 97:1-98:12 Jackson stated that the JSS should not censor people’s writing, and Walls assumed he

 was referencing the exchange with Wiener. Id. Walls stated his agreement at the time that

 submissions should not be “censored” because it was “what [Jackson] wanted,” and admitted that

 his agreement with Jackson was a “lie.” Id. To summarize: according to Walls, the discussion of

 “censorship” primarily related to an anti-Ewell submission, and he “lied” to Jackson to appease

 him.



                                                  5
Case 4:21-cv-00033-ALM         Document 95        Filed 01/24/25      Page 6 of 11 PageID #: 5411




        Jackson uses his telling of this incident to support his argument that he did not dismiss

 Walls’s editorial concerns, but rather, Jackson “deferred” to Walls’s concern that the JSS should

 not censor pro-Ewell papers. And thus, there could not have been a power disparity between

 Jackson and Walls, therefore the fact that the ad hoc panel found one is pretextual.

        Jackson also points to an email from Walls in which, in Jackson’s telling, “Walls and Graf

 asked whether or not they should criticize anti-Schenkerian authors.” See Doc. 89 at p. 19. The

 email itself does not support such a reading – Walls asks Jackson about his thoughts about

 publishing anti-Schenkerian submission, which he concluded, despite his disagreement with what

 they said, were important to publish. See Doc. 90-6 at UNT 2758. Jackson’s suggestion that he had

 to walk Walls and Graf away from criticizing Ewell’s supporters is the only canard here. Indeed,

 Jackson’s mashup of selectively cut and pasted emails does not include his response to Walls;

 therefore, it is impossible to conclude based on this record that he discouraged Walls and Graf

 from discouraging anti-Schenkerian responses.

        Not only is this telling inaccurate, the ad hoc panel’s finding of a power disparity is not

 based on this single car incident, nor was it based on only Walls’s statements. As stated in the

 Board Defendants’ MSJ, Walls’s telling of his experience of the power disparity was corroborated

 by Graf and Slottow – everyone on the JSS editorial staff but Jackson. See Doc. 84 at p. 26; Doc.

 84-2, Board Defs’. MSJ APPX.104-105, 40:22-25, 41:1-2, APPX.108-109, 80:2-25, 81:1-4. Walls

 also testified that he feared retaliation from Jackson if he went against his wishes, so he kept his

 reservations about Volume 12 to himself. Id.

        Jackson further tries to discredit the panel’s review by stating they only selectively applied

 the COPE guidelines, and Ishiyama did not heed his request to “discuss how to maintain the

 integrity of an academic journal.” But Ishiyama unequivocally testified that the panel consciously



                                                  6
Case 4:21-cv-00033-ALM          Document 95        Filed 01/24/25      Page 7 of 11 PageID #: 5412




 confined their review to Provost Cowley’s charge and structured their review around three issues:

 1) peer review; 2) the anonymous author; and 3) the decision not to invite Ewell to respond. REPLY

 APPX.032-033, 28:20-29:21; Doc. 1-5 at p. 5. Thus, all of the COPE guidelines were not

 implicated. Further, the fact that the panel did not defer to Jackson’s wishes does not show a

 retaliatory motive. 4

          Jackson’s argument about the power disparity is in effect, this: Walls did not tell me that

 he felt I had significant power over him and his career and the potential to ruin it, therefore he lied

 and there was no power disparity. His argument about Cowley and the ad hoc panel’s “pretext” is

 similar: they did not use my evidence to discredit Walls, therefore they ignored it and their actions

 were a pretext for punishing me for criticizing Ewell.

          Not only are these conclusions unsupported, they fail to explain why Cowley and Ishiyama

 would retaliate against him for criticizing Ewell. He does not refute, for example, Cowley’s

 testimony about her reason for convening the panel, or Ishiyama’s testimony that the ad hoc panel

 did not read the articles in Volume 12. Doc. 84-2, Board Defs’. MSJ APPX.049, 65:6-11; Doc. 84-

 2, Board Defs’. MSJ APPX. 119-120, 87:11-19, 96:3-4. Jackson has also failed to demonstrate that

 they were motivated to avenge Ewell and retaliate against him, even secretly. There is simply no

 evidence that Cowley or Ishiyama were followers of Ewell’s thesis or arguments. Jackson has not

 demonstrated that UNT’s actions were motivated by his criticism of Ewell, and his claim fails.

     I.      Jackson has not refuted that Volume 12 caused disruption.
          On the issue of the disruption caused by Volume 12, Jackson argues that it did not cause

 any inefficiency, without refuting the evidence of disruption, or addressing Pickering balancing.


 4
   At deposition, Ishiyama was asked if the panel would “investigate[] the infringement of his
 academic freedom.” REPLY APPX.034, 54:12-18. But Jackson’s allegation was that the panel’s
 investigation itself was an infringement of his academic freedom, so it is not clear how, or why, it
 would investigate such an issue, or the issue of how to “maintain the integrity of the journal.”
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Case 4:21-cv-00033-ALM          Document 95        Filed 01/24/25       Page 8 of 11 PageID #: 5413




         For example, Jackson insinuates that UNT illogically invoked “time-place-manner”

 restrictions, ignoring the part of the Pickering balancing test requiring consideration of the time,

 place, and manner of the speech at issue. See Doc. 84 at p. 31-32. To reiterate what the Board

 Defendants state in their MSJ: the fact that Jackson exercised his free speech through a UNT

 sponsored journal is paramount. See Doc. 84 at pp. 31-33; See also Connick v. Myers, 461 U.S.

 138, 153 (1983) (the fact that the plaintiff exercised her rights to free speech at the office supported

 the defendant’s fears that the functioning of the office was endangered.).

         Jackson dismisses the harm Volume 12 caused UNT’s reputation as silly, citing to the

 accomplishments achieved by Walls and some of the Defamation Defendants as proof that Volume

 12 did not harm UNT’s reputation. But the question is: at the time, did UNT have a legitimate

 reason to review Volume 12 in light of the fact that it reflected not just upon Jackson, but all of his

 colleagues and UNT? Based on the evidence, the Court can answer this question in the affirmative.

 See Doc. 84 at p. 28.

         UNT was not obligated to wait to address Volume 12 until, for example, it turned out that

 Walls could not get a job upon achieving his Ph.D. (which was years away), or until the College

 of Music’s reputation diminished in some quantifiable manner due to widely known criticism of

 the unscholarly nature of Volume 12, a product of UNT. Kinney v. Weaver, 367 F.3d 337, 362-363

 (5th Cir. 2004) (defendants’ burden was to demonstrate that they could reasonably think that their

 interest in maintaining effective training for officers was threatened by the plaintiff’s speech);

 Connick, 461 U.S. at 151-152 (employer does not have to allow events to unfold to the extent that

 the disruption in the office is manifest before acting.).

         Volume 12 was imputed to UNT from the outset – especially Walls and Graf. See Doc. 84

 at pp. 27-29. UNT’s response was not to retaliate against Jackson – but to address, via the ad hoc



                                                    8
Case 4:21-cv-00033-ALM          Document 95        Filed 01/24/25       Page 9 of 11 PageID #: 5414




 panel’s review, how Volume 12 came to be published, thereby addressing the unscholarly nature

 of Volume 12, and its reflection on UNT. See Doc. 84 at pp. 27-31. The Board Defendants are not

 asking this Court to give deference to unfounded predictions of harm, but legitimate ones. Bevill

 v. Wheeler, 103 F.4th 363, 379 (5th Cir. 2024). 5 The ad hoc panel’s recommendations for

 publishing the JSS going forward were justified and should not be subordinated to Jackson’s

 interests.

         This court can find that the Board Defendants have articulated relevant, cognizable

 interests in UNT’s review of Volume 12 (and making recommendations accordingly) that outweigh

 Jackson's interest in publishing without regard for scholarly standards and the impact his speech

 may have on his employer, colleagues, and students.

                                           CONCLUSION
         Jackson is asking this court to prioritize his rights over those of this colleagues and students

 because he argues, without evidence, that UNT’s actions were motivated by his criticisms of Ewell.

 To reiterate the Board Defendants’ MSJ: they were not required to agree with Jackson’s view that

 the review of Volume 12 was based on his criticisms of Ewell. Cowley and the panel took measures

 to divorce the content of Jackson’s criticism of Ewell from their review. Jackson has not refuted

 the evidence showing they succeeded, or demonstrated that his interests outweigh UNT’s,

 therefore his claim must be dismissed.




 5
   In Bevill, the court found that that the plaintiff’s speech about public officials and a police
 department did not cause disruption because the plaintiff’s statements could have been “clarified
 and address as warranted” short of terminating the plaintiff. Id. That is exactly the case here: the
 ad hoc panel was convened to address that Volume 12, and its mistakes, were avoidably being
 imputed to UNT, Jackson’s colleagues, and his students.
                                                    9
Case 4:21-cv-00033-ALM   Document 95 Filed 01/24/25         Page 10 of 11 PageID #:
                                   5415



                                  Respectfully submitted,


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                                    10
Case 4:21-cv-00033-ALM          Document 95 Filed 01/24/25           Page 11 of 11 PageID #:
                                          5416



                                CERTIFICATE OF SERVICE

        I hereby certify that on January 24, 2025, a true and correct copy of this document was
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                                               11
